                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

PNC BANK, NATIONAL ASSOCIATION,         )
Successor to NATIONAL CITY BANK, N.A.,  )
                                        )
         Plaintiff,                     )
                                        )
    v.                                  )                       Case No. 3:15-CV-00483
                                        )
HAVENHILLS INVESTMENT CO., LLC, et al., )
                                        )
         Defendants.                    )

      CONSENT JUDGMENT UNDER COUNT I, COUNT III, and COUNT IV
 AND DISMISSAL WITHOUT PREJUDICE AS TO COUNT II, COUNT V, COUNT VI
                         AND COUNT VII

        By consent, judgment is entered in favor of Plaintiff PNC Bank, N.A., successor to

National City Bank, N.A. (“PNC” or “Plaintiff”), and against Defendant Havenhills Investment

Company, LLC (“Havenhills”) on Count I and Count III of Plaintiff’s Second Amended Verified

Complaint to Foreclose Mortgages, for Breach of Note and Guaranties, and for the Appointment

of a Receiver (the “Complaint”), for the foreclosure on the mortgage executed by Havenhills on

May 17, 2006 as amended, November 28, 2006, December 4, 2006 and February 28, 2008 as to

(i) the real property commonly known as 1152 N. Green Mount Road, Shiloh, IL 62221 and

generally south of and proximate to Frank Scott Parkway and east of Green Mount Road in the

Village of Shiloh, County of St. Clair, State of Illinois, consisting of approximately 63.75 acres of

real estate, more or less, together with approximately 11.5 acres of real estate, more or less at the

Northern portion of the intersection of Frank Scott Parkway and Cross Street, with all

improvements, fixtures and appurtenances thereto, including, without limitation, all rights and

interests in the programs available in which Havenhills has arranged to support and enhance the

development of the foregoing property (the “Count I Property”); and (ii) the 40 acres of real estate



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at the corner of Frank Scott Parkway and Cross Street with all improvements, fixtures and

appurtenances thereto, including, without limitation, all rights and interests in the programs

available in which Havenhills has arranged to support and enhance the development of the

foregoing property (the “Count III Property”), pursuant to 735 ILCS 5/15-1506. The Count I

Property is described on Exhibit A attached hereto and incorporated by reference herein, and the

Count III Property is described on Exhibit B attached hereto and incorporated by reference herein

(the Count I Property and Count III Property may sometimes collectively be referred to as the

“Havenhills Property”). By consent, judgment also to be entered in favor of Plaintiff and against

Havenhills, McEagle Land Acquisitions, LLC and Shiloh Land Acquisitions, LLC under Count

IV of the Complaint. The Court being fully advised in the premises, finds the following:

        a.      Plaintiff commenced this action by filing its complaint, thereafter twice amended,

for (i) Mortgage Foreclosure as to the Count I Property; (ii) Mortgage Foreclosure as to the Count II

Property; (iii) Mortgage Foreclosure as to the Count III Property; (iv) Suit on the Promissory Note

executed by Havenhills, the liability for which was assumed by McEagle Land Acquisitions, LLC

and Shiloh Land Acquisitions, LLC, in the principal amount of $8,309,966.59; (v) Suit on

Guaranty of Paul J. McKee, Jr. as Trustee, of the Paul J. McKee, Jr. Revocable Trust, dated

September 19, 1990; (vi) and Suit on Guaranty of Paul J. McKee, Jr., individually and (vii) for

the Appointment of a Receiver.

        b.      This Consent Judgment is entered in favor of Plaintiff as to Count I of the Complaint

as to Havenhills, and Plaintiff has a first-priority lien against the Count I Property that may be

foreclosed as more fully set forth herein.

        c.      This Consent Judgment is entered in favor of Plaintiff as to Count III of the

Complaint as to Havenhills, and Plaintiff has a lien subject to the priority set forth in that certain



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Intercreditor and Subordination Agreement, against the Count III Property that may be foreclosed as

more fully set forth herein.

        d.      This Consent Judgment is entered in favor of Plaintiff as to Count IV of the

Complaint against Havenhills, McEagle Land Acquisitions, LLC and Shiloh Land Acquisitions,

LLC, on the Promissory Note, for the principal amount of $8,297,525.54 , interest of

$2,507,032.12 through March 29, 2016, late fees of $562,545.29; and expenses through March 29,

2016 in the amount of $116,404.58 for a total judgment amount of $11,483,507.53 (the “PNC

Judgment”).

        e.      Count II, Count V, Count VI, and Count VII of the Complaint are dismissed without

prejudice.

        The Court being fully advised in the premises, makes the following findings:

                                               I. Jurisdiction

        A.      The Court has jurisdiction over the parties to and subject matter of this action.

        B.      The following Defendants were properly served with a summons and a copy of the

Complaint:

                          Defendant                                            Service Date
 McEagle Land Acquistions, LLC                                                 May 1, 2015

 Shiloh Land Acquisitions, LLC                                                  May 1, 2015

 Paul J. McKee, Jr.                                                             May 1, 2015

 Paul J. McKee, Jr Revocable Trust                                              May 1, 2015
 Dated September 19, 1990

 Havenhills Investment Company, LLC                                             May 1, 2015

 Village of Shiloh                                                              May 4, 2015

 Parkside Financial Bank & Trust predecessor to Shiloh RC, LLC                  May 1, 2015



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                                           II. Evidentiary Findings

        C.      All material allegations in the Complaint are true and correct to the best of Plaintiff’s

knowledge.

        D.      The evidence of the indebtedness is attached to the Complaint as Exhibits E-1, E-2,

E-3 and E-4 (collectively the “Mortgage”) and Exhibit C-3 (the promissory note in the amount of

$8,309,966.59) (the “Note”), respectively; and are admitted into evidence.

        E.      Plaintiff retained counsel, Lathrop & Gage LLP, to prepare and file the Complaint

and to represent and advise Plaintiff with the foreclosure of the Mortgage and collection under the

Note, as set forth in the Complaint.

                                         III. Ultimate Findings

        F.      Plaintiff is entitled to an immediate judgment of foreclosure (the “Foreclosure

Judgment”) and sale, together with interest at the contractual rate after the entry of the Foreclosure

Judgment and additional court costs, expenses of sale and additional costs and expenses that

Plaintiff may incur as set forth in the Mortgage, which shall be included in an additional judgment at

such time as: (i) this Court enters an order confirming the foreclosure sale provided for in this cause,

or (ii) the Havenhills Property is sold with PNC’s consent.

        G.      The Mortgage held by PNC is a valid mortgage on the real estate described in

Exhibit A attached hereto and a valid lien upon the Count I Property which is prior, paramount and

superior to all other mortgages, claims, or interests and liens upon the Count I Property of all other

parties except for leases to which this Mortgage is subordinate, and for real estate taxes and special

assessments, if any. Upon entry herein, the rights of PNC will be secured by a lien upon the Count I

Property, which will have the same priority as the Mortgage upon which the Foreclosure Judgment

relates. The rights and interests of all other parties are subject, subordinate and inferior to the rights

of PNC.

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        H.      The Mortgage held by PNC is a valid mortgage on the real estate described in

Exhibit B attached hereto and a valid lien upon the Count III Property which is prior, paramount and

superior to all other mortgages, claims, or interests and liens upon the Count III Property of all other

parties, except as modified by that certain Intercreditor Agreement with the Village of Shiloh, and

for real estate taxes and special assessments, if any. Upon entry herein, the rights of PNC will be

secured by a lien upon the Count III Property, which will have the same priority as the Mortgage

upon which the Foreclosure Judgment relates. Except as modified by that certain Intercreditor

Agreement with the Village of Shiloh, the rights and interests of all other parties are subject,

subordinate and inferior to the rights of PNC.

        I.      Execution on the Foreclosure Judgment shall be stayed as to Counts I and III of the

Complaint contingent upon the continued cooperation of Defendants in connection with the listing,

marketing and sale of the Havenhills Property as more fully set forth in a forbearance agreement

executed in connection herewith.

        J.      Defendants admit that the value of the Havenhills Property is less than the PNC

Judgment.

        It is therefore ordered, adjudged and decreed that a judgment for foreclosure and sale is

granted to Plaintiff against all Defendants and it is further ordered as follows:

                                   A. Order for Foreclosure – PNC

        1.      McEagle Land Acquisitions, LLC, Shiloh Land Acquisitions, LLC, and

Havenhills are ordered to pay PNC within the time allowed by law, the PNC Judgment with

statutory interest.

        2.      In default of such payment in accordance with the PNC Judgment, the Havenhills

Property, with all the improvements, fixtures, and appurtenances, or so much of the Havenhills



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Property which may be divisible and sold separately without material injury to the parties in

interest will be sold at public auction to the highest bidder for cash as provided below to satisfy

the total amount due the Plaintiff as set forth in the PNC Judgment, together with interest at the

statutory judgment rate from the date of the PNC Judgment and such additional costs and

expenses that PNC may incur under the PNC Mortgage after the date of the PNC Judgment.

       3.      In the event that PNC is the purchaser of the Havenhills Property at such sale,

PNC may offset against the purchase prices of the Havenhills Property the amounts due under

the PNC Judgment and the additional judgment, if any, under the order confirming the

foreclosure sale.

       4.      The foreclosed property directed to be sold is particularly described in Exhibit A

and Exhibit B attached.

       5.      In the event of such sale, the Defendants made parties to the Complaint in

accordance with statutory provisions, and all persons claiming by, through, or under them, and

each and any and all of them, will be forever barred and foreclosed of any right, title, interest,

claim, lien, or right to redeem in and to the Havenhills Property, except as to the Village of

Shiloh under the Intercreditor Agreement.

       6.      A deed will be issued to the purchaser at the sale according to law, and the

purchaser will be let into possession of the Havenhills Property in accordance with statutory

provisions.

       7.      Prior to the sale of the Havenhills Property, PNC shall be granted possession of

the Havenhills Property.

                                            B. Redemption

       8.      This is a foreclosure of the Mortgage.



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        9.      The Defendants have waived their right of redemption pursuant to the Mortgage.

                                                  C. Sale

        10.     This Court appoints Pace Properties, Inc. to execute on the PNC Judgment and the

Havenhills Property with all improvements, fixtures, and appurtenances, or so much of the

Havenhills Property which may be divisible and sold separately without material injury to the

parties in interest. Upon termination of the forebearance agreement referenced in Paragraph I

above and written notice from PNC, Pace Properties, Inc. will, either itself or by designation of

the Plaintiff to do so, give public notice of the time, place, and terms of such foreclosure sale by

publishing same once each week for three consecutive calendar weeks (Sunday through

Saturday). The first of such notice to be published not more than 45 days prior to the sale, and the

last of such notice to be published not less than seven days prior to the sale.

        11.     The notice will be by an advertisement in a newspaper circulated to the general

public in the county in which the Havenhills Property is located in the section where legal notices

are commonly placed and by a separate advertisement which may be in the same newspaper, in the

section where real estate, other than real estate being sold in a legal proceeding is commonly

advertised to the public; provided that where the newspaper does not have separate legal and real

estate sections, a single advertisement will be sufficient.

        12.     The foreclosure sale may be adjourned at the discretion of the party conducting it,

provided, however, that if the adjourned foreclosure sale date is to occur less than 30 days after the

last scheduled foreclosure sale, notice need only be given once, not less than five days prior to the

date of the adjourned foreclosure sale.




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        13.     Plaintiff may become the purchaser at such foreclosure sale. If Plaintiff is the

successful bidder at the sale, the amount due to Plaintiff plus costs, advances, and attorney's fees

will be taken as a credit bid.

        14.     Pace Properties, Inc. shall execute and deliver to any purchaser at said foreclosure

sale a receipt of sale and a certificate of sale, with a duplicate of said certificate to be filed for record

in the Office of the Recorder of Deeds of St. Clair County, Illinois.

        15.     Upon confirmation of the foreclosure sale, the party conducting the sale may issue a

certificate of sale in recordable form describing the real estate purchased and the amount paid for

the real estate. This certificate shall be freely assignable. After (i) the expiration of all the

mortgagor's reinstatement and redemption rights and rights to possession, if applicable, (ii)

confirmation of sale, and (iii) payment of the purchase price and any other amounts required to be

paid by the purchaser at the sale, the party conducting the sale must, upon request of the holder of

the certificate of sale, or the purchaser, if certificate of sale was not issued, execute and deliver to

the holder or purchaser a deed sufficient to convey title. The conveyance will be an entire bar to all

claims of other parties to the foreclosure and all persons claiming thereunder, except as to the rights

of the Village of Shiloh under the Intercreditor Agreement.

        16.     If the parties who will be in possession of the Havenhills Property or any part of the

Havenhills Property or any persons who may have come into such possession under them, or any of

them, since the commencement of this suit, as of the date 30 days after the confirmation of the sale,

do not surrender possession of the Havenhills Property to the purchaser, or the purchaser’s

representative or assigns, the order confirming the sale will so provide for their surrender of the

possession of the Havenhills Property to the purchaser. The order will also provide that the United




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States Marshall Service or the Sheriff of St. Clair County may execute on the order and evict any

remaining occupants without further notices or order of court.

        17.     This Court retains authority during the entire pendency of the foreclosure and until

disposition of all matters arising out of the foreclosure.

                             D. Orders of Dismissal and Discharge of Receiver

        18.     Counts II, V, VI, and VII of the Complaint are hereby dismissed without

prejudice.

        19.     Count VII of the Complaint having been dismissed without prejudice, it is

Ordered that Pace Properties, Inc., is terminated as the Receiver and that the Receiver’s Bond

shall be released by the Clerk without cause for delay, subject only to Pace Properties, Inc.

providing a full and complete accounting of its activities as Receiver.


IT IS SO ORDERED.

DATED: October 21, 2016



                                                 DONALD G. WILKERSON
                                                 United States Magistrate Judge


The undersigned consent to entry of the above consent judgment.

LATHROP & GAGE, LLP                                   SPENCER FANE, LLP

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                                                      ATTORNEYS FOR SHILOH RC, LLC
                                                      SUCCESSOR BY ASSIGNMENT TO
                                                      PARKSIDE FINANCIAL BANK & TRUST


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BRUCKER, GRUENKE & LONG, PC                STONE, LEYTON & GERSHMAN

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ATTORNEYS FOR THE VILLAGE OF
SHILOH, ILLINOIS, A MUNICIPAL              ATTORNEYS FOR HAVENHILLS
CORPORATION LOCATED IN ST.                 INVESTMENT COMPANY; LLC;
CLAIR COUNTY, ILLINOIS                     MCEAGLE LAND ACQUISITIONS, LLC;
                                           SHILOH LAND ACQUISITIONS, LLC;
                                           PAUL J. MCKEE, JR., AS TRUSTEE OF
                                           THE PAUL. J. MCKEE, JR. REVOCABLE
                                           LIVING TRUST DATED SEPTEMBER 19,
                                           1990; AND PAUL J. MCKEE,
                                           INDIVIDUALLY


GREENSFELDER, HEMKER & GALE PC

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ATTORNEYS FOR PACE PROPERTIES,
INC.




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